       Case 1:21-cr-00214-JDB           Document 125    Filed 01/21/25     Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

           v.                                          Criminal Action No. 21-214 (JDB)

 JOSEPH LINO PADILLA,
         Defendant.


                                            ORDER

       Upon consideration of [124] the government’s motion to dismiss the second superseding

indictment with prejudice pursuant to Federal Rule of Criminal Procedure 48(a), and the entire

record herein, it is hereby ORDERED that the motion is GRANTED. It is further ORDERED

that all pending deadlines and hearings in this matter are hereby TERMINATED. The Clerk of

Court is directed to terminate this case.



                                                                       /s/
                                                                JOHN D. BATES
                                                            United States District Judge
Dated: January 21, 2025
